         Case 2:99-cr-00051-MCE Document 361 Filed 05/05/14 Page 1 of 2
                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Garland E. Burrell Jr.
United States District Judge
Sacramento, California

                                              RE: Javier Mora
                                                  Docket Number: 2:99CR00051-005
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


Javier Mora is requesting permission to travel to Mexico.       He is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On September 22, 2000, Javier Mora was sentenced for the
offense of 21 USC 846, 841(a)(1) – Conspiracy to Manufacture and to Possess
Methamphetamine with Intent to Distribute.


Sentence Imposed: 188 months custody Bureau of Prisons, 36 months Supervised Release,
$100 Special Assessment. Special conditions include: Warrantless search, financial disclosure,
correctional treatment, drug testing, pager/cellular phone restrictions, abstain from alcohol, co-
payment plan for treatment/testing, and register as a drug offender.


Dates and Mode of Travel: He does not know the exact travel dates but will provide them once
the Court approves his travel request and he secures his flight arrangements.


Purpose: Mr. Mora’s father recently died and his mother wants to visit with family. Mr. Mora
plans to fly to Mexico and accompany his mother home. He only plans to stay for a day or two
and return home.



                                                1
                                                                                        REV. 05/2013
                                                         TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
         Case 2:99-cr-00051-MCE Document 361 Filed 05/05/14 Page 2 of 2
RE:      Javier Mora
         Docket Number: 2:99CR00051-005-
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                        /s/ Kris M. Miura

                                    KRIS M. MIURA
                              United States Probation Officer

Dated:    May 1, 2014
          Elk Grove, California
          KMM/sda

                             /s/ Deborah A. Spencer
 REVIEWED BY:              DEBORAH A. SPENCER
                           Supervising United States Probation Officer




                                  ORDER OF THE COURT

          ☒     Approved          ☐      Disapproved

Dated: May 1, 2014




                                                2

                                                                                       REV. 09/2013
                                                        TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
